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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 SCOTT GLABB on behalf of himself               Case No.
 and all others similarly situated,
                                                CLASS ACTION
                            Plaintiff,
                                                COMPLAINT FOR:
 v.
                                                (1) NEGLIGENCE
 PENSION BENEFITS                               (2) VIOLATION OF THE CAL.
 INFORMATION, LLC,                              CONSUMER PRIVACY ACT, CAL.
                                                CIV. CODE § 1798.150
                             Defendant.         (3) VIOLATION OF THE CAL.
                                                CUSTOMER RECORDS ACT, CAL.
                                                CIV. CODE § 1798.84
                                                (4) VIOLATION OF THE CAL.
                                                UNFAIR COMPETITION LAW, CAL.
                                                BUS. & PROF. CODE § 17200
                                                (5) VIOLATION OF THE RIGHT TO
                                                PRIVACY, CAL. CONST. ART. 1, § 1
                                                (6) BREACH OF IMPLIED
                                                CONTRACT

                                                DEMAND FOR JURY TRIAL



                           CLASS ACTION COMPLAINT

       Plaintiff Scott Glabb (“Plaintiff”), by and through his undersigned counsel,

individually and on behalf of all similarly situated persons, alleges the following against

Pension Benefits Information, LLC and any affiliates (collectively, “PBI” or “Defendant”)

based upon personal knowledge with respect to himself and on information and belief

derived from, among other things, investigation by his counsel and review of public

documents as to all other matters:

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                                  I.     INTRODUCTION

       1.     This putative class action arises from PBI’s negligent failure to implement

and maintain reasonable cybersecurity procedures that resulted in a data breach of its

systems, which was discovered in May or June 2023 (the “Data Breach”).

       2.     PBI acts as a third- party provider of pension management services to public

pensions throughout the nation, including the California Public Employees’ Retire System

(“CalPERS”) and the California Teachers’ Retirement Fund (“CalSTRS”).

       3.     In connection with the Data Breach, PBI failed to properly secure and

safeguard Plaintiff’s and Class Members’ protected personally identifiable information,

including without limitation, full names, dates of birth, and Social Security numbers (these

types of information, inter alia, being thereafter referred to, collectively, as “personal

identifiable information” or “PII”).1

       4.     The Data Breach has impacted more than 700,000 CalPERS members and an

unknown number of CalSTRS members.2




1
  Personally identifiable information (“PII”) generally incorporates information that can be
used to distinguish or trace an individual’s identity, either alone or when combined with
other personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all
information that on its face expressly identifies an individual. PII also is generally defined
to include certain identifiers that do not on its face name an individual, but that are
considered to be particularly sensitive and/or valuable if in the wrong hands (for example,
Social Security numbers, passport numbers, driver’s license numbers, financial account
numbers).
2
  See https://www.sacbee.com/news/politics-government/capitol-
alert/article276638381.html (last visited on July 27, 2023)
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       5.     The Data Breach has also impacted several million additional individuals

nationwide for whom PBI provides pension and insurance related services.3

       6.     Plaintiff brings this class action complaint to redress injuries related to the

Data Breach, on behalf of himself and a nationwide class and California subclass of

similarly situated persons.

       7.     Plaintiff asserts claims on behalf of a nationwide class for negligence,

negligence per se, declaratory judgment, common law invasion of privacy, breach of

implied contract and breach of implied covenant of good faith and fair dealing.

       8.     Plaintiff also brings claims on behalf of a California subclass for violation of

the California Consumer Privacy Act, Cal. Civ. Code § 1798.150, the California Customer

Records Act, Cal. Civ. Code § 1798.80 et seq., violation of the California Unfair

Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., and for invasion of privacy

based on the California Constitution, Art. 1, § 1.

       9.     Plaintiff seeks, among other things, compensatory damages, injunctive relief,

attorneys’ fees, and costs of suit.

       10.    Plaintiff further intends to amend this complaint to seek statutory damages

on behalf of the California subclass upon expiration of the 30-day cure period pursuant to

Cal. Civ. Code § 1798.150(b).




3
 See https://www.bleepingcomputer.com/news/security/moveit-breach-impacts-
genworth-calpers-as-data-for-32-million-exposed/ (last visited on July 27, 2023).
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                                       II.     PARTIES

       11.    Plaintiff Scott Glabb is, and at all times mentioned herein was, a citizen and

resident of the State of California whose PII was part of the June 2023 Data Breach that is

the subject of this action.

       12.    On information and belief, Defendant Pension Benefit Information, LLC is

a Delaware limited liability corporation with its principal place of business located at 333

S. 7th Street, Suite 2400, Minneapolis, Minnesota 55402.

       13.    Plaintiff brings this action on behalf of herself, on behalf of the general public

as a Private Attorney General pursuant to California Code of Civil Procedure § 1021.5 and

on behalf of a class and subclass of similarly situated persons pursuant Federal Rule of

Civil Procedure 23.

                              III.   JURISDICTION AND VENUE

       14.    This Court has general personal jurisdiction over PBI because, at all relevant

times, PBI had systematic and continuous contacts with the State of Minnesota. PBI does

business in Minnesota, and has offices in Minneapolis, Minnesota. Defendant regularly

contracts with a multitude of businesses, organizations and consumers in Minnesota to

provide pension plan management services. PBI does in fact actually provide such

continuous and ongoing pension plan management services to such customers in Minnesota

and has employees in Minnesota.

       15.    Furthermore, this Court has specific personal jurisdiction over PBI because

the claims in this action stem from its specific contacts with the State of Minnesota —

namely, PBI’s provision of pension plan management services to a multitude of clients in

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Minnesota, PBI’s collection, maintenance, and processing of the personal data of

Minnesotans in connection with such services, including but not limited to PBI’s

employees, PBI’s failure to implement and maintain reasonable security procedures and

practices with respect to that data, and the consequent cybersecurity attack and security

breach of such data in June 2023.

       16.    This Court has diversity subject matter jurisdiction under 28 U.S.C. §

1332(d) in that the mater in controversy exceeds the sum or value of $5,000,000, exclusive

of interests and costs, and is a class action in which members of the class defined herein

include citizens of a State different from the PBI, including Plaintiff.

       17.    Supplemental jurisdiction to adjudicate issues pertaining to state law is

proper in this Court pursuant to 28 U.S.C. § 1367.

       18.    Venue is proper in the District of Minnesota under 28 U.S.C. § 1391 (b)(1)-

(2) and (c)(2) because a substantial part of the events or omissions giving rise to the claims

alleged herein occurred within this judicial district, specifically PBI’s provision of pension

plan management services in Minnesota and within Minneapolis specifically, PBI’s

collection, maintenance, and processing of the personal data of Minnesotans in connection

with such services, PBI’s failure to implement and maintain reasonable security procedures

and practices with respect to that data, and the consequent security breach of such data in

June 2023 through a vulnerability on a secure file transfer application hosted by PBI in his

District, which vulnerability and subsequent security breach resulted from PBI’s failures,

as alleged herein. In addition, Plaintiff is informed and believes and thereon alleges that

PBI has offices within the District of Minnesota.

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                              IV.    FACTUAL ALLEGATIONS

   A. PBI’s Business and Collection of Plaintiff’s and Class Members’ Private
      Information

       19.      PBI provides pension benefit management services to public pensions

throughout the nation, including CalPERS and CalSTRS.

       20.      The California Public Employees’ Retirement System, or “CalPERS,” is the

largest public pension fund in the United States, with over $400 billion in its portfolio.

       21.      The California Teachers’ Retirement Fund, or “CalSTRS,” is a sister fund to

CalPERS, and has more than $300 billion in its portfolio.

       22.      PBI is a third-party contractor for CalPERS and CalSTRS, providing

necessary pension management services. For example, PBI performs critical work of

identifying pension members who have died. As part of this work, PBI prevents

overpayment of pension benefits and helps identify beneficiaries who are entitled to

continued pension benefits.

       23.      In connection with its pension management services, PBI collects, stores, and

processes sensitive personal data for thousands of individuals, including but not limited to

pension members for whom PBI is providing management services. In doing so, PBI

retains sensitive information including, but not limited to, bank account information,

addresses, driver’s license numbers, dates of birth, and social security numbers, among

other things.




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       24.     As a pension management business involving California public pension

members, PBI is legally required to protect personal information from unauthorized access,

disclosure, theft, exfiltration, modification, use, or destruction.

       25.     PBI knew that it was a prime target for hackers given the significant amount

of sensitive personal information processed through its computer data and storage systems.

PBI’s knowledge is underscored by the massive number of data breaches that have

occurred in recent years.

       26.     Despite knowing the prevalence of data breaches, PBI failed to prioritize data

security by adopting reasonable data security measures to prevent and detect unauthorized

access to its highly sensitive systems and databases. PBI has the resources to prevent a

breach, but neglected to adequately invest in data security, despite the growing number of

well-publicized breaches. PBI failed to undertake adequate analyses and testing of its own

systems, training of its own personnel, and other data security measures as described herein

to ensure vulnerabilities were avoided or remedied and that Plaintiff’s and Class Members’

data were protected.

       27.     Specifically, on or around June 6, 2023, PBI notified CalPERS that it

discovered a significant cybersecurity breach that occurred at an unknown time. PBI

notified CalPERS that a vulnerability in the MOVEit transfer application allowed data to

be downloaded by an unauthorized third party – a vulnerability that, upon information and

belief, PBI was aware of yet failed to address in a timely fashion, leading to the Data

Breach. Very few specific details about the Data Breach have been provided to impacted

individuals.

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       28.    On information and belief, the personal information PBI collects (and which

was impacted by the Data Breach) includes individual’s name, date of birth, and social

security number, among other personal, sensitive and confidential information.

       29.    On or around June 26, 2023, CalSTRS mailed data breach notices to

impacted parties, including Plaintiff. According to notice mailed to impacted individuals,

the breach resulted in individual’s names, social security numbers, dates of birth, and ZIP

codes being compromised and acquired by unauthorized actors. Plaintiff received a copy

of the June 26, 2023 data breach notice via United States mail service confirming that his

personal identifying information was part of the Data Breach.

       30.    Upon information and belief, the hackers responsible for the Data Breach

downloaded and stole the PII impacted in the Data Breach. Because of the nature of the

Data Breach and of the personal information stored or processed by PBI, Plaintiff is

informed and believes that all categories of personal information were further subject to

unauthorized access, disclosure, theft, exfiltration, modification, use, or destruction.

Plaintiff is informed and believes that criminals would have no purpose for hacking PBI

other than to exfiltrate or steal, or destroy, use, or modify as part of their ransom attempts,

the coveted personal information stored or processed by PBI.

       31.    The personal information exposed by PBI as a result of its inadequate data

security is highly valuable on the black market to phishers, hackers, identity thieves, and

cybercriminals. Stolen personal information is often trafficked on the “dark web,” a heavily

encrypted part of the Internet that is not accessible via traditional search engines. Law



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enforcement has difficulty policing the dark web due to this encryption, which allows users

and criminals to conceal identities and online activity.

       32.    When malicious actors infiltrate companies and copy and exfiltrate the

personal information that those companies store, or have access to, that stolen information

often ends up on the dark web because the malicious actors buy and sell that information

for profit.

       33.    The information compromised in the PBI Data Breach involves sensitive

personal identifying information, which is significantly more valuable than the loss of, for

example, credit card information in a retailer data breach because, there, victims can cancel

or close credit and debit card accounts. Whereas here, the information compromised is

difficult and highly problematic to change—particularly social security numbers.

       34.    Once personal information is sold, it is often used to gain access to various

areas of the victim’s digital life, including bank accounts, social media, credit card, and tax

details. This can lead to additional personal information being harvested from the victim,

as well as personal information from family, friends, and colleagues of the original victim.

       35.    Unauthorized data breaches, such as these, facilitate identity theft as hackers

obtain consumers’ personal information and thereafter use it to siphon money from current

accounts, open new accounts in the names of their victims, or sell consumers’ personal

information to others who do the same.

       36.    The high value of PII to criminals is further evidenced by the prices they will

pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to

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$200, and bank details have a price range of $50 to $200.4 Experian reports that a stolen

credit or debit card number can sell for $5 to $110 on the dark web.5 Criminals can also

purchase access to entire company data breaches from $999 to $4,995.6

       37.    These criminal activities have and will result in devastating financial and

personal losses to Plaintiff and Class Members. For example, it is believed that certain PII

compromised in the 2017 Experian data breach was being used, three years later, by

identity thieves to apply for COVID-19-related benefits in the state of Oklahoma. Such

fraud will be an omnipresent threat for Plaintiff and Class Members for the rest of their

lives. They will need to remain constantly vigilant.

       38.    The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.” The FTC describes

“identifying information” as “any name or number that may be used, alone or in

conjunction with any other information, to identify a specific person,” including, among

other things, “[n]ame, Social Security number, date of birth, official State or government

issued driver’s license or identification number, alien registration number, government

passport number, employer or taxpayer identification number.”


4
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends, Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-
datasold-on-the- dark-web-how-much-it-costs/ (last visited on July 27, 2023).
5
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian,
Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-
howmuch-your-. personal-information-is-selling-for-on-the-dark-web/ (last visited on
July 27, 2023).
6
  In the Dark, VPNOverview, 2019, available at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last visited on July
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       39.    Identity thieves can use PII, such as that of Plaintiff and Class Members

(which PBI failed to keep secure) to perpetrate a variety of crimes that harm victims. For

instance, identity thieves may commit various types of government fraud such as

immigration fraud, obtaining a driver’s license or identification card in the victim’s name

but with another’s picture, using the victim’s information to obtain government benefits,

or filing a fraudulent tax return using the victim’s information to obtain a fraudulent refund.

       40.    The ramifications of PBI’s failure to keep secure Plaintiff’s and Class

Members’ PII are long lasting and severe. Once PII is stolen, particularly identification

numbers, fraudulent use of that information and damage to victims may continue for years.

Indeed, Plaintiff’s and Class Members’ PII was taken by hackers to engage in identity theft

or to sell it to other criminals who will purchase the PII for that purpose. The fraudulent

activity resulting from the Data Breach may not come to light for years.

       41.    Indeed, there may be a time lag between when harm occurs versus when it is

discovered, and also between when PII is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data

breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be
       held for up to a year or more before being used to commit identity theft.
       Further, once stolen data have been sold or posted on the Web, fraudulent
       use of that information may continue for years. As a result, studies that
       attempt to measure the harm resulting from data breaches cannot necessarily
       rule out all future harm.7



7
 Report to Congressional Requesters, GAO, at 29 (June 2007), available at
http://www.gao.gov/new.items/d07737.pdf (last visited on July 27, 2023).
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       42.    When cyber criminals access financial information and other personally

sensitive data—as they did here—there is no limit to the amount of fraud to which

Defendant may have exposed Plaintiff and Class Members.

       43.    And data breaches are preventable.8 As Lucy Thompson wrote in the DATA

BREACH AND ENCRYPTION HANDBOOK, “[i]n almost all cases, the data breaches

that occurred could have been prevented by proper planning and the correct design and

implementation of appropriate security solutions.”9 She added that “[o]rganizations that

collect, use, store, and share sensitive personal data must accept responsibility for

protecting the information and ensuring that it is not compromised . . . .”10

       44.    Most of the reported data breaches are a result of lax security and the failure

to create or enforce appropriate security policies, rules, and procedures … Appropriate

information security controls, including encryption, must be implemented and enforced in

a rigorous and disciplined manner so that a data breach never occurs.11

       45.    Federal and state governments have established security standards and issued

recommendations to minimize unauthorized data disclosures and the resulting harm to

individuals and financial institutions. Indeed, the Federal Trade Commission (“FTC”) has

issued numerous guides for businesses that highlight the importance of reasonable data

security practices.



8
  Lucy L. Thompson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in
DATA BREACH AND ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012).
9
  Id. at 17.
10
   Id. at 28.
11
   Id.
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       46.    According to the FTC, the need for data security should be factored into all

business decision-making.12 In 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established guidelines for fundamental data

security principles and practices for business.13 Among other things, the guidelines note

businesses should properly dispose of personal information that is no longer needed,

encrypt information stored on computer networks, understand their network’s

vulnerabilities, and implement policies to correct security problems. The guidelines also

recommend that businesses use an intrusion detection system to expose a breach as soon

as it occurs, monitor all incoming traffic for activity indicating someone is attempting to

hack the system, watch for large amounts of data being transmitted from the system, and

have a response plan ready in the event of the breach.

       47.    Also, the FTC recommends that companies limit access to sensitive data,

require complex passwords to be used on networks, use industry-tested methods for

security, monitor for suspicious activity on the network, and verify that third-party service

providers have implemented reasonable security measures.14

       48.    Highlighting the importance of protecting against unauthorized data

disclosures, the FTC has brought enforcement actions against businesses for failing to



12
   See Federal Trade Commission, Start with Security (June 2015), available at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last visited on July 27, 2023).
13
   See Federal Trade Commission, Protecting Personal Information: A Guide for Business
(Oct. 2016), available at https://www.ftc.gov/system/files/documents/plain-
language/pdf0136_proteting-personal-information.pdf (last visited on July 27, 2023).
14
   See id.
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adequately and reasonably protect personal information, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential

consumer data as an unfair act or practice prohibited by Section 5 of the Federal Trade

Commission Act (“FTC Act” or “FTCA”), 15 U.S.C. § 45.

       49.      Orders resulting from these actions further clarify the measures businesses

must take to meet their data security obligations.

       50.      The FBI created a technical guidance document for Chief Information

Officers and Chief Information Security Officers that compiles already existing federal

government and private industry best practices and mitigation strategies to prevent and

respond to ransomware attacks. The document is titled How to Protect Your Networks from

Ransomware and states that on average, more than 4,000 ransomware attacks have

occurred daily since January 1, 2016. Yet, there are very effective prevention and response

actions that can significantly mitigate the risks.15 Preventative measures include:

              Implement an awareness and training program. Because end users are targets,
               employees and individuals should be aware of the threat of ransomware and
               how it is delivered.

              Enable strong spam filters to prevent phishing emails from reaching the end
               users and authenticate inbound email using technologies like Sender Policy
               Framework (SPF), Domain Message Authentication Reporting and
               Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
               prevent email spoofing.

              Scan all incoming and outgoing emails to detect threats and filter executable
               files from reaching end users.


15
  How to Protect Your Networks from Ransomware, FBI,
https://www.fbi.gov/filerepository/ransomware-prevention-and-response-for-
cisos.pdf/view (last visited on July 27, 2023)
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              Configure firewalls to block access to known malicious IP addresses.

              Patch operating systems, software, and firmware on devices. Consider using
               a centralized patch management system.

              Set anti-virus and anti-malware programs to conduct regular scans
               automatically.

              Manage the use of privileged accounts based on the principle of least
               privilege: no users should be assigned administrative access unless
               absolutely needed; and those with a need for administrator accounts should
               only use them when necessary.

              Configure access controls—including file, directory, and network share
               permissions—with least privilege in mind. If a user only needs to read
               specific files, the user should not have write access to those files, directories,
               or shares.

              Disable macro scripts from office files transmitted via email. Consider using
               Office Viewer software to open Microsoft Office files transmitted via email
               instead of full office suite applications.

              Implement Software Restriction Policies (SRP) or other controls to prevent
               programs from executing from common ransomware locations, such as
               temporary folders supporting popular Internet browsers or
               compression/decompression          programs,         including         the
               AppData/LocalAppData folder.

              Consider disabling Remote Desktop protocol (RDP) if it is not being used.
               Use application whitelisting, which only allows systems to execute programs
               known and permitted by security policy.

              Execute operating system environments or specific programs in a virtualized
               environment.

              Categorize data based on organizational value and implement physical and
               logical separation of networks and data for different organizational units.16




16
     Id.
                                                15
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       51.    PBI could have prevented the Data Breach by properly utilizing best

practices as advised by the federal government and described in the preceding paragraphs

but failed to do so.

       52.    PBI’s failure to safeguard against a cybersecurity attack is exacerbated by

the repeated warnings and alerts from public and private institutions, including the federal

government, directed to protecting and securing sensitive data. Experts studying

cybersecurity routinely identify companies such as PBI that collect, process, and store

massive amounts of data on cloud-based systems as being particularly vulnerable to

cyberattacks because of the value of the personal information that they collect and

maintain. Accordingly, PBI knew or should have known that it was a prime target for

hackers.

       53.    According to the 2021 Thales Global Cloud Security Study, more than 40%

of organizations experienced a cloud-based data breach in the previous 12 months. Yet,

despite these incidents, the study found that nearly 83% of cloud-based businesses still fail

to encrypt half of the sensitive data they store in the cloud.17

       54.    Upon information and belief, PBI did not encrypt Plaintiff’s and Class

Members’ personal information involved in the Data Breach.

       55.    Despite knowing the prevalence of data breaches, PBI failed to prioritize

cybersecurity by adopting reasonable security measures to prevent and detect unauthorized



17
  Maria Henriquez, 40% of organizations have suffered a cloud-based data breach,
Security, Oct. 29, 2021, https://www.securitymagazine.com/articles/96412-40-
oforganizations-have-suffered-a-cloud-based-datq-breach (last visited on July 27, 2023).
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access to its highly sensitive systems and databases. PBI has the resources to prevent an

attack, but neglected to adequately invest in cybersecurity, despite the growing number of

well-publicized breaches. PBI failed to fully implement each and all of the above-described

data security best practices. PBI further failed to undertake adequate analyses and testing

of its own systems, training of its own personnel, and other data security measures to ensure

vulnerabilities were avoided or remedied and that Plaintiff’s and Class Members’ data were

protected.

       56.    As detailed above, PBI is a large, sophisticated pension benefits management

company with the resources to deploy robust cybersecurity protocols. It knew, or should

have known, that the development and use of such protocols were necessary to fulfill its

statutory and common law duties to Plaintiff and Class Members. Its failure to do so is,

therefore, intentional, willful, reckless and/or grossly negligent.

       57.    PBI disregarded the rights of Plaintiff and Class Members by, inter alia, (i)

intentionally, willfully, recklessly, and/or negligently failing to take adequate and

reasonable measures to ensure that its network servers were protected against unauthorized

intrusions; (ii) failing to disclose that it did not have adequately robust security protocols

and training practices in place to adequately safeguard Plaintiff’s and Class Members’ PII;

(iii) failing to take standard and reasonably available steps to prevent the Data Breach; (iv)

concealing the existence and extent of the Data Breach for an unreasonable duration of

time; and (v) failing to provide Plaintiff and Class Members prompt and accurate notice of

the Data Breach.



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   B. PBI Breached its Duty to Safeguard Plaintiff’s and Class Members’ Private
      Information

       58.    In addition to its obligations under federal laws and regulations, PBI owed a

duty to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining,

securing, safeguarding, deleting, and protecting their personal information from being

compromised, lost, stolen, accessed, and misused by unauthorized persons. PBI owed a

duty to Plaintiff and Class Members to provide reasonable security, including complying

with industry standards and requirements, adequate monitoring of its employees, agents,

and vendors, and ensuring that its computer systems, networks, and protocols adequately

protected the Private Information of Class Members.

       59.    PBI breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly monitor, maintain and

safeguard its Plaintiff’s and Class Members’ Private Information. PBI’s unlawful conduct

includes, but is not limited to, the following acts and/or omissions:

         a.   Failing to adequately protect Plaintiff’s and Class Members’ PII;

         b. Failing to sufficiently monitor its employees, agents, and vendors regarding

              the proper handling of Plaintiff’s and Class Members’ PII;

         c.   Failing to fully comply with FTC guidelines for cybersecurity in violation of

              the FTCA;

         d. Failing to adhere to industry standards for cybersecurity as discussed above;

              and




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          e.      Otherwise breaching its duties and obligations to protect Plaintiff’s and Class

                  Members’ PII.

       60.        Accordingly, Plaintiff’s and Class Members’ lives were severely disrupted

by the Data Breach. What’s more, they have been harmed as a result of the Data Breach

and now face an increased risk of future harm that includes, but is not limited to, fraud and

identity theft.

   C. Plaintiff’s and Class Members’ Damages

       61.        PBI received highly sensitive PII from Plaintiff in connection with PBI’s

provision of pension benefit management services the company provided to CalSTRS.

       62.        As a result of PBI’s provision of pension management services on behalf of

CalSTRS, Plaintiff’s information was among the data accessed by an unauthorized third

party in the Data Breach.

       63.        At all times herein relevant, Plaintiff is and was a member of the nationwide

class and the California subclass alleged herein.

       64.        Plaintiff’s PII was exposed in the Data Breach because PBI stored and/or

controlled Plaintiff’s PII at the time of the Data Breach.

       65.        Plaintiff received a letter from CalSTRS, dated June 26, 2023, stating that

his name, social security number, date of birth, and ZIP code that were in the possession,

custody and/or control of PBI was involved in the Data Breach.

       66.        As a result, Plaintiff spent time dealing with the consequences of the Data

Breach, which included and continues to include, signing up for Defendant’s offered credit

monitoring and identity theft insurance; changing passwords and resecuring his own

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computer network; self-monitoring his accounts for any indication of fraudulent activity,

which may take years to detect; and seeking legal counsel regarding his options for

remedying and/or mitigating the effects of the Data Breach. This time has been lost forever

and cannot be recaptured.

       67.    Plaintiff suffered actual injury in the form of damages to and diminution in

the value of his PII—a form of intangible property that he entrusted to PBI, which was

compromised in and as a result of the Data Breach.

       68.    Plaintiff suffered lost time, annoyance, interference, and inconvenience as a

result of the Data Breach and has anxiety and increased concerns for the loss of privacy, as

well as anxiety over the impact of cybercriminals accessing, using, and selling his PII.

       69.    Plaintiff further suffered injury in the form of experiencing an increase in

spam calls, texts, and/or emails since the Data Breach.

       70.    Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII, in

combination with his name and Social Security number being placed in the hands of

unauthorized third parties/criminals.

       71.    Plaintiff has a continuing interest in ensuring that his PII, which, upon

information and belief, remains backed up in PBI’s possession, is protected and

safeguarded from future breaches.

       72.    Plaintiff’s and Class Members’ personal identifying information, including

their names and social security numbers, were in the possession, custody and/or control of



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PBI. Plaintiff believed that PBI would protect and keep his personal identifying

information protected, secure and safe from unlawful disclosure.

       73.    Plaintiff and Class Members have spent and will continue to spend time and

effort monitoring their accounts to protect themselves from identity theft. Plaintiff and

Class Members remain concerned for their personal security and the uncertainty of what

personal information was exposed to hackers and/or posted to the dark web.

       74.    As a direct and foreseeable result of PBI’s negligent failure to implement and

maintain reasonable data security procedures and practices and the resultant breach of its

systems, Plaintiff and Class Members have suffered harm in that their sensitive personal

information has been exposed to cybercriminals and they have an increased stress, risk,

and fear of identity theft and fraud. This is not just a generalized anxiety of possible identify

theft, privacy, or fraud concerns, but a concrete stress and risk of harm resulting from an

actual breach and accompanied by actual instances of reported problems suspected to stem

from the breach.

       75.    Plaintiff and Class Members are especially concerned about the

misappropriation of their Social Security numbers. Social security numbers are among the

most sensitive kind of personal information to have been stolen because they may be put

to a variety of fraudulent uses and are difficult for an individual to change. The Social

Security Administration stresses that the loss of an individual’s social security number, as

is the case here, can lead to identity theft and extensive financial fraud:

       A dishonest person who has your Social Security number can use it to get
       other personal information about you. Identity thieves can use your number
       and your good credit to apply for more credit in your name. Then, they use

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        the credit cards and don’t pay the bills, it damages your credit. You may not
        find out that someone is using your number until you’re turned down for
        credit, or you begin to get calls from unknown creditors demanding payment
        for items you never bought. Someone illegally using your Social Security
        number and assuming your identity can cause a lot of problems.18

        76.      Furthermore, Plaintiff and Class Members are well aware that their sensitive

personal information, including social security numbers and potentially banking

information, risks being available to other cybercriminals on the dark web. Accordingly,

Plaintiff and Class Members have suffered harm in the form of increased stress, fear, and

risk of identity theft and fraud resulting from the data breach. Additionally, Plaintiff and

Class Members have incurred, and/or will incur, out-of-pocket expenses related to credit

monitoring and identify theft prevention to address these concerns.

                              V.       CLASS ACTION ALLEGATIONS

        77.      Plaintiff brings this action individually and on behalf of all other persons

similarly situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2),

and 23(b)(3).

        78.      Specifically, Plaintiff proposes the following Nationwide Class and

California Subclass (collectively referred to herein as the “Class”), subject to amendment

as appropriate:

                 Nationwide Class
                 All individuals in the United States who had Private
                 Information accessed and/or acquired as a result of the Data
                 Breach, including all who were sent a notice of the Data
                 Breach.


18
  See Identify Theft and Your Social Security Number, Social Security Administration,
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited on July 27, 2023).

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              California Subclass
              All individuals residing in the state of California who had
              Private Information accessed and/or acquired as a result of the
              Data Breach, including all who were sent a notice of the Data
              Breach.


       79.    Excluded from the Class are Defendant and its parents or subsidiaries, any

entities in which it has a controlling interest, as well as its officers, directors, affiliates,

legal representatives, heirs, predecessors, successors, and assigns. Also excluded is any

Judge to whom this case is assigned as well as their judicial staff and immediate family

members.

       80.    Plaintiff reserves the right to modify or amend the definitions of the proposed

Class, as well as add additional subclasses, before the Court determines whether

certification is appropriate.

       81.    The proposed Class meets the criteria for certification under Fed. R. Civ. P.

23(a), (b)(2), and (b)(3).

       82.    Numerosity. The Class Members are so numerous that joinder of all members

is impracticable. Though the exact number and identities of Class Members are unknown

at this time, based on information and belief, the Class consists of hundreds of thousands

of individuals whose PII was in the possession and control of PBI and later compromised

in the Data Breach. The identities of Class Members are ascertainable through PBI’s

records, Class Members’ records, publication notice, self-identification, and other means.




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      83.    Commonality. There are questions of law and fact common to the Class

which predominate over any questions affecting only individual Class Members. These

common questions of law and fact include, without limitation:

                a. Whether PBI engaged in the conduct alleged herein;

                b. When PBI actually learned of the MOVEit vulnerability and resulting

                    Data Breach;

                c. Whether PBI’s response to the Data Breach was adequate;

                d. Whether PBI unlawfully lost or disclosed Plaintiff’s and Class

                    Members’ Private Information;

                e. Whether PBI failed to implement and maintain reasonable monitoring

                    and supervisory procedures and practices appropriate to the nature and

                    scope of the Private Information compromised in the Data Breach;

                f. Whether PBI adequately ensured that its data security systems prior

                    to and during the Data Breach complied with applicable data security

                    laws and regulations;

                g. Whether PBI owed a duty to Class Members to safeguard their Private

                    Information;

                h. Whether PBI breached its duty to Class Members to safeguard their

                    Private Information;

                i. Whether hackers acquired and obtained Class Members’ Private

                    Information via the Data Breach;



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        j. Whether PBI knew or should have known that its data security

           systems were deficient;

        k. What damages Plaintiff and Class Members suffered as a result of

           PBI’s misconduct;

        l. Whether PBI’s conduct was negligent;

        m. Whether Plaintiff and Class Members are entitled to actual and/or

           statutory damages;

        n. Whether Plaintiff and Class Members are entitled to additional credit

           and identity monitoring and monetary relief;

        o. Whether PBI’s failure to implement and maintain reasonable security

           procedures and practices constitutes violation of the California

           Consumer Privacy Act, Cal. Civ. Code § 1798.150, California’s

           Unfair Competition Law, Cal. Bus. & Prof. Code § 17200;

        p. Whether the California subclass is entitled to actual pecuniary

           damages under the private rights of action in the California Customer

           Records Act, Cal. Civ. Code § 1798.84 and the California Consumer

           Privacy Act, Civ. Code § 1798.150, and the proper measure of such

           damages, and/or statutory damages pursuant § 1798.150(a)(1)(A) and

           the proper measure of such damages; and

        q. Whether Plaintiff and Class Members are entitled to equitable relief,

           including injunctive relief, restitution, disgorgement, and/or the

           establishment of a constructive trust.

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       84.     Typicality. Plaintiff’s claims are typical of those of other Class Members

because Plaintiff’s PII, like that of every other Class Member, was compromised in the

Data Breach.

       85.     Adequacy of Representation. Plaintiff will fairly and adequately represent

and protect the interests of Class Members. Plaintiff’s counsel is competent and

experienced in litigating class actions, including data privacy litigation of this kind.

       86.     Predominance. PBI has engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was stored

on the same computer systems and unlawfully accessed and exfiltrated in the same way.

The common issues arising from PBI’s conduct affecting Class Members set out above

predominate over any individualized issues. Adjudication of these common issues in a

single action has important and desirable advantages of judicial economy.

       87.     Superiority. A class action is superior to other available methods for the fair

and efficient adjudication of this controversy and no unusual difficulties are likely to be

encountered in the management of this class action. Class treatment of common questions

of law and fact is superior to multiple individual actions or piecemeal litigation. Absent a

Class action, most Class Members would likely find that the cost of litigating their

individual claims is prohibitively high and would therefore have no effective remedy. The

prosecution of separate actions by individual Class Members would create a risk of

inconsistent or varying adjudications with respect to individual Class Members, which

would establish incompatible standards of conduct for PBI. In contrast, conducting this



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action as a class action presents far fewer management difficulties, conserves judicial

resources and the parties’ resources, and protects the rights of each Class Member.

         88.   Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). PBI has

acted and/or refused to act on grounds generally applicable to the Class such that final

injunctive relief and/or corresponding declaratory relief is appropriate as to the Class as a

whole.

         89.   Finally, all members of the proposed Class are readily ascertainable. PBI has

access to the names and addresses and/or email addresses of Class Members affected by

the Data Breach. Class Members have already been preliminarily identified and sent notice

of the Data Breach by PBI.

                                VI.   CLAIMS FOR RELIEF

                                          COUNT I
                                       NEGLIGENCE
                             (On behalf of Plaintiff and the Class)

         90.   Plaintiff realleges and incorporates by reference the preceding paragraphs as

if fully set forth herein.

         91.   PBI owed a duty to Plaintiff and Class Members to exercise reasonable care

in obtaining, storing, using, processing, deleting and safeguarding their personal

information in its possession from being compromised, stolen, accessed, and/or misused

by unauthorized persons.

         92.   That duty includes a duty to implement and maintain reasonable security

procedures and practices appropriate to the nature of the personal information that were

compliant with and/or better than industry-standard practices.
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       93.    PBI’s duties included a duty to design, maintain, and test its security systems

to ensure that Plaintiff’s and Class Members’ personal information was adequately secured

and protected, to implement processes that would detect a breach of its security system in

a timely manner, to timely act upon warnings and alerts, including those generated by its

own security systems regarding intrusions to its networks, and to promptly, properly, and

fully notify its clients, Plaintiff, and Class Members of any data breach.

       94.    PBI’s duties to use reasonable care arose from several sources, including but

not limited to those described below.

       95.    PBI had a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiff and Class Members were the foreseeable and probable victims of

any inadequate security practices. In fact, not only was it foreseeable that Plaintiff and

Class Members would be harmed by the failure to protect their personal information

because hackers routinely attempt to steal such information and use it for nefarious

purposes, but PBI also knew that it was more likely than not Plaintiff and other Class

Members would be harmed.

       96.    PBI’s duty also arose under Section 5 of the Federal Trade Commission Act,

15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,” including,

as interpreted and enforced by the FTC, the unfair practice of failing to use reasonable

measures to protect personal information by companies such as PBI.

       97.    Various FTC publications and data security breach orders further form the

basis of PBI’s duty. According to the FTC, the need for data security should be factored



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into all business decision making.19 In 2016, the FTC updated its publication, Protecting

Personal Information: A Guide for Business, which established guidelines for fundamental

data security principles and practices for business.20 Among other things, the guidelines

note that businesses should protect the personal customer information that they keep;

properly dispose of personal information that is no longer needed; encrypt information

stored on computer networks; understand their network’s vulnerabilities; and implement

policies to correct security problems.

       98.    The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity

indicating someone is attempting to hack the system; watch for large amounts of data being

transmitted from the system; and have a response plan ready in the event of a breach.

Additionally, the FTC recommends that companies limit access to sensitive data, require

complex passwords to be used on networks, use industry-tested methods for security,

monitor for suspicious activity on the network, and verify that third-party service providers

have implemented reasonable security measures.

       99.    The FBI has also issued guidance on best practices with respect to data

security that also form the basis of PBI’s duty of care, as described above.21




19
   See Start with Security, A Guide for Business, FTC (June 2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last visited on July 27, 2023).
20
   Protecting Personal Information, A Guide for Business, FTC (Oct. 2016),
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
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       100.   By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and

Class Members’ personal information, PBI assumed legal and equitable duties and knew

or should have known that it was responsible for protecting Plaintiff’s and Class Members’

personal information from disclosure.

       101.   PBI also had a duty to safeguard the personal information of Plaintiff and

Class Members and to promptly notify them of a breach because of state laws and statutes

that require PBI to reasonably safeguard personal information, as detailed herein, including

Cal. Civ. Code § 1798.80 et seq.

       102.   Timely notification was required, appropriate, and necessary so that, among

other things, Plaintiff and Class Members could take appropriate measures to freeze or lock

their credit profiles, cancel or change usernames or passwords on compromised accounts,

monitor their account information and credit reports for fraudulent activity, contact their

banks or other financial institutions that issue their credit or debit cards, obtain credit

monitoring services, develop alternative timekeeping methods or other tacks to avoid

untimely or inaccurate wage payments, and take other steps to mitigate or ameliorate the

damages caused by PBI’s misconduct.

       103.   Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their personal information.

       104.   PBI breached the duties it owed to Plaintiff and Class Members described

above and thus was negligent. PBI breached these duties by, among other things, failing

to: (a) exercise reasonable care and implement adequate security systems, protocols and

practices sufficient to protect the personal information of Plaintiff and Class Members; (b)

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prevent the breach; (c) timely detect the breach; (d) maintain security systems consistent

with industry; (e) timely disclose that Plaintiff’s and Class Members’ personal information

in PBI’s possession had been or was reasonably believed to have been stolen or

compromised; (f) failing to comply fully even with its own purported security practices.

          105.   PBI knew or should have known of the risks of collecting and storing

personal information and the importance of maintaining secure systems, especially in light

of the increasing frequency of ransomware attacks. The sheer scope of PBI’s operations

further shows that PBI knew or should have known of the risks and possible harm that

could result from its failure to implement and maintain reasonable security measures. On

information and belief, this is but one of the several vulnerabilities that plagued PBI’s

systems and led to the data breach.

          106.   Through PBI’s acts and omissions described in this complaint, including

PBI’s failure to provide adequate security and its failure to protect the personal information

of Plaintiff and Class Members from being foreseeably captured, accessed, exfiltrated,

stolen, disclosed, accessed, and misused, PBI unlawfully breached their duty to use

reasonable care to adequately protect and secure Plaintiff’s and Class Members’ personal

information.

          107.   PBI further failed to timely and accurately disclose to clients, Plaintiff, and

Class Members that their personal information had been improperly acquired or accessed

and/or was available for sale to criminals on the dark web. Plaintiff and Class Members

could have taken action to protect their personal information if they were provided timely

notice.

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       108.   But for PBI’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their personal information would not have been compromised.

       109.   Plaintiff and Class Members relied on PBI to keep their personal information

confidential and securely maintained, and to use this information for business purposes

only, and to make only authorized disclosures of this information.

       110.   As a direct and proximate result of PBI’s negligence, Plaintiff and Class

Members have been injured as described herein, and are entitled to damages, including

compensatory and nominal damages, in an amount to be proven at trial. As a result of PBI’s

failure to protect Plaintiff’s and Class Members’ personal information, Plaintiff’s and Class

Members’ personal information has been accessed by malicious cybercriminals. Plaintiff

‘and the Class Members’ injuries include:

          a. theft of their personal information;

          b. costs associated with the detection and prevention of identity theft and

              unauthorized use of their financial accounts;

          c. costs associated with time spent and loss of productivity from taking time to

              address and attempt to ameliorate, mitigate, and deal with the actual and

              future consequences of the data breach, including finding fraudulent charges,

              cancelling and reissuing cards, enrolling in credit monitoring and identity

              theft protection services, freezing and unfreezing accounts, and imposing

              withdrawal and purchase limits on compromised accounts;




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          d. the imminent and certainly impending injury flowing from potential fraud

              and identity theft posed by their personal information being placed in the

              hands of criminals;

          e. damages to and diminution of value of their personal information entrusted,

              directly or indirectly, to PBI with the mutual understanding that PBI would

              safeguard Plaintiff’s and the Class Members’ data against theft and not allow

              access and misuse of their data by others;

          f. continued risk of exposure to hackers and thieves of their personal

              information, which remains in PBI’s possession and is subject to further

              breaches so long as PBI fails to undertake appropriate and adequate measures

              to protect Plaintiff and Class Members, along with damages stemming from

              the stress, fear, and anxiety of an increased risk of identity theft and fraud

              stemming from the Data Breach;

          g. loss of the inherent value of their personal information;

          h. the loss of the opportunity to determine for themselves how their personal

              information is used; and

          i. other significant additional risk of identity theft, financial fraud, and other

              identity-related fraud in the indefinite future.

       111.   In connection with the conduct descried above, PBI acted wantonly,

recklessly, and with complete disregard for the consequences Plaintiff and Class Members

would suffer if their highly sensitive and confidential personal information, including but



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not limited to name, company name, address, social security numbers, and banking and

credit card information, was access by unauthorized third parties.

                                COUNT II
 VIOLATION OF THE CALIFORNIA CONSUMER PRIVACY ACT, CAL. CIV.
               CODE §§ 1798.100 ET SEQ., § 1798.150(A)
            (On behalf of Plaintiff and the California Subclass)

       112.   Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       113.   The California Consumer Privacy Act (“CCPA”), Cal. Civ. Code §

1798.150(a), creates a private cause of action for violations of the CCPA. Section

1798.150(a) specifically provides:

              Any consumer whose nonencrypted and nonredacted personal
              information, as defined in subparagraph (A) of paragraph (1)
              of subdivision (d) of Section 1798.81.5, is subject to an
              unauthorized access and exfiltration, theft, or disclosure as a
              result of the business’s violation of the duty to implement and
              maintain reasonable security procedures and practices
              appropriate to the nature of the information to protect the
              personal information may institute a civil action for any of the
              following:

                         (A) To recover damages in an amount not less than
                             one hundred dollars ($100) and not greater than
                             seven hundred and fifty ($750) per consumer per
                             incident or actual damages, whichever is greater.

                         (B) Injunctive or declaratory relief.

                         (C) Any other relief the court deems proper.

       114.   PBI is a “business” under § 1798.140(b) in that it is a corporation organized

for profit or financial benefit of its shareholders or other owners, with gross revenue in

excess of $25 million.

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       115.   Plaintiff and California Subclass Members are covered “consumers” under §

1798.140(g) in that they are natural persons who are California residents.

       116.   The personal information of Plaintiff and the California Subclass Members

at issue in this lawsuit constitutes “personal information” under § 1798.150(a) and

1798.81.5, in that the personal information PBI collects and which was impacted by the

cybersecurity attack includes an individual’s first name or first initial and the individual’s

last name in combination with one or more of the following data elements, with either the

name or the data elements not encrypted or redacted: (i) Social Security number; (ii)

Driver’s license number, California identification card number, tax identification number,

passport number, military identification number, or other unique identification number

issued on a government document commonly used to verify the identity of a specific

individual; (iii) account number or credit or debit card number, in combination with any

required security code, access code, or password that would permit access to an

individual’s financial account; (iv) medical information; (v) health insurance information;

(vi) unique biometric data generated from measurements or technical analysis of human

body characteristics, such as a fingerprint, retina, or iris image, used to authenticate a

specific individual.

       117.   PBI knew or should have known that its computer systems and data security

practices were inadequate to safeguard the California Subclass Members’ personal

information and that the risk of a data breach or theft was highly likely. PBI failed to

implement and maintain reasonable security procedures and practices appropriate to the

nature of the information to protect the personal information of Plaintiff and the California

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Subclass Members. Specifically, PBI subjected Plaintiff’s and the California Subclass

Members’ nonencrypted and nonredacted personal information to an unauthorized access

and exfiltration, theft, or disclosure as a result of the PBI’s violation of the duty to

implement and maintain reasonable security procedures and practices appropriate to the

nature of the information, as described herein.

       118.   As a direct and proximate result of PBI’s violation of its duty, the

unauthorized access and exfiltration, theft, or disclosure of Plaintiff’s and California

Subclass Members’ personal information included exfiltration, theft, or disclosure through

PBI’s servers, systems, and website, and/or the dark web, where hackers further disclosed

the personal identifying information alleged herein.

       119.   As a direct and proximate result of PBI’s acts, Plaintiff and the California

Subclass Members were injured and lost money or property, including but not limited to

the loss of Plaintiff’s and California Subclass Members’ legally protected interest in the

confidentiality and privacy of their personal information, stress, fear, and anxiety, nominal

damages, and additional losses described above.

       120.   Section 1798.150(b) specifically provides that “[n]o [prefiling] notice shall

be required prior to an individual consumer initiating an action solely for actual pecuniary

damages.” Accordingly, Plaintiff and the California Subclass Members by way of this

complaint seek actual pecuniary damages suffered as a result of PBI’s violations described

herein. Plaintiff issued a notice of these alleged violations pursuant to § 1798.150(b) and

intends to amend this complaint to seek statutory damages and injunctive relief upon

expiration of the 30-day cure period pursuant to § 1798(a)(1)(A)-(B), (a)(2), and (b).

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                               COUNT III
VIOLATION OF THE CALIFORNIA CUSTOMER RECORDS ACT, CAL. CIV.
                      CODE §§ 1798.80 ET SEQ.
           (On behalf of Plaintiff and the California Subclass)

       121.   Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       122.   Cal. Civ. Code § 1798.81.5 provides that “[i]t is the intent of the Legislature

to ensure that personal information about California residents is protected. To that end, the

purpose of this section is to encourage businesses that own, license, or maintain personal

information about Californians to provide reasonable security for that information.”

       123.   Section 1798.81.5(b) further states that: “[a] business that owns, licenses, or

maintains personal information about a California resident shall implement and maintain

reasonable security procedures and practices appropriate to the nature of the information,

to protect the personal information from unauthorized access, destruction, use,

modification, or disclosure.”

       124.   Cal. Civ. Code § 1798.84(b) provides that [a]ny customer injured by a

violation of this title may institute a civil action to recover damages.” Section 1798.84(e)

further provides that “[a]ny business that violates, proposes to violate, or has violated this

title may be enjoined.”

       125.   Plaintiff and the California Subclass Members are “customers” within the

meaning of Civ. Code § 1798.80(c) and 1798.84(b) because they are individuals who

provided personal information to PBI, directly and/or indirectly, for the purpose of

obtaining a service from PBI.


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       126.   The personal information of Plaintiff and the California Subclass Members

at issue in this lawsuit constitutes “personal information” under § 1798.81.5(d)(1) in that

the personal information PBI collects and which was impacted by the cybersecurity attack

includes an individual’s first name or first initial and the individual’s last name in

combination with one or more of the following data elements, with either the name or the

data elements not encrypted or redacted: (i) Social Security number; (ii) Driver’s license

number, California identification card number, tax identification number, passport number,

military identification number, or other unique identification number issued on a

government document commonly used to verify the identity of a specific individual; (iii)

account number or credit or debit card number, in combination with any required security

code, access code, or password that would permit access to an individual’s financial

account; (iv) medical information; (v) health insurance information; (vi) unique biometric

data generated from measurements or technical analysis of human body characteristics,

such as a fingerprint, retina, or iris image, used to authenticate a specific individual.

       127.   PBI knew or should have known that its computer systems and data security

practices were inadequate to safeguard the Plaintiff’s and California Subclass Members’

personal information and that the risk of a data breach or theft was highly likely. PBI failed

to implement and maintain reasonable security procedures and practices appropriate to the

nature of the information to protect the personal information of Plaintiff and the California

Subclass Members. Specifically, PBI failed to implement and maintain reasonable security

procedures and practices appropriate to the nature of the information, to protect the

personal information of Plaintiff and the California Subclass Members from unauthorized

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access, destruction, use, modification, or disclosure. PBI further subjected Plaintiff’s and

the California Subclass Members’ nonencrypted and nonredacted personal information to

an unauthorized access and exfiltration, theft, or disclosure as a result of the PBI’s violation

of the duty to implement and maintain reasonable security procedures and practices

appropriate to the nature of the information, as described herein.

       128.   As a direct and proximate result of PBI’s violation of its duty, the

unauthorized access, destruction, use, modification, or disclosure of the personal

information of Plaintiff and the California Subclass Members included hackers’ access to,

removal, deletion, destruction, use, modification, disabling, disclosure and/or conversion

of the personal information of Plaintiff and the California Subclass Members by the

ransomware attackers and/or additional unauthorized third parties to whom those

cybercriminals sold and/or otherwise transmitted the information.

       129.   As a direct and proximate result of PBI’s acts or omissions, Plaintiff and the

California Subclass Members were injured and lost money or property including, but not

limited to, the loss of Plaintiff’s and the California Subclass Members’ legally protected

interest in the confidentiality and privacy of their personal information, nominal damages,

and additional losses described above. Plaintiff seeks compensatory damages as well as

injunctive relief pursuant to Cal. Civ. Code § 1798.84(b).

       130.   Moreover, the California Customer Records Act further provides: “A person

or business that maintains computerized data that includes personal information that the

person or business does not own shall notify the owner or licensee of the information of

the breach of the security of the data immediately following discovery, if the personal

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information was, or is reasonably believed to have been, acquired by an unauthorized

person.” Cal. Civ. Code § 1798.82.

      131.   Any person or business that is required to issue a security breach notification

under the CRA must meet the following requirements under §1798.82(d):

          a. The name and contact information of the reporting person or business subject

             to this section;

          b. A list of the types of personal information that were or are reasonably

             believed to have been the subject of a breach;

          c. If the information is possible to determine at the time the notice is provided,

             then any of the following:

                 i. the date of the breach,

                ii. the estimated date of the breach, or

                iii. the date range within which the breach occurred. The notification shall

                    also include the date of the notice;

          d. Whether notification was delayed as a result of a law enforcement

             investigation, if that information is possible to determine at the time the

             notice is provided;

          e. A general description of the breach incident, if that information is possible

             to determine at the time the notice is provided;

          f. The toll-free telephone numbers and addresses of the major credit reporting

             agencies if the breach exposed a social security number or a driver’s license

             or California identification card number;

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          g. If the person or business providing the notification was the source of the

              breach, an offer to provide appropriate identity theft prevention and

              mitigation services, if any, shall be provided at no cost to the affected person

              for not less than 12 months along with all information necessary to take

              advantage of the offer to any person whose information was or may have

              been breached if the breach exposed or may have exposed personal

              information.

       132.   PBI failed to provide the legally compliant notice under § 1798.82(d) to

Plaintiff and members of the California Subclass. On information and belief, to date, PBI

has not sent written notice of the data breach to all impacted individuals. As a result, PBI

has violated § 1798.82 by not providing legally compliant and timely notice to all

California Subclass Members. Because not all members of the class have been notified of

the Data Breach, members could have taken action to protect their personal information

but were unable to do so because they were not timely notified of the breach.

       133.   On information and belief, many California Subclass Members affected by

the breach have not received any notice at all from PBI in violation of Section 1798.82(d).

       134.   As a result of the violations of Cal. Civ. Code § 1798.82, Plaintiff and

California Subclass Members suffered incrementally increased damages separate and

distinct from those simply caused by the breaches themselves.

       135.   As a direct consequence of the actions as identified above, Plaintiff and

California Subclass Members incurred additional losses and suffered further harm to their

privacy, including but not limited to economic loss, the loss of control over the use of their

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identity, increased stress, fear, and anxiety, harm to their constitutional right to privacy,

lost time dedicated to the investigation of the breach and effort to cure any resulting harm,

the need for future expenses and time dedicated to the recovery and protection of further

loss, and privacy injuries associated with having their sensitive personal, financial, and

payroll information disclosed, that they would not have otherwise incurred, and are entitled

to recover compensatory damages according to proof pursuant to § 1798.84(b).

                                COUNT IV
  VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW, CAL.
                 BUS. & PROF. CODE § 17200 ET SEQ.
            (On behalf of Plaintiff and the California Subclass)

       136.   Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       137.   PBI is a “person” defined by Cal. Bus. & Prof. Code § 17201.

       138.   PBI violated Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”) by engaging

in unlawful, unfair, and deceptive business acts and practices.

       139.   PBI’s “unfair” acts and practices include:

          a. PBI failed to implement and maintain reasonable security measures to protect

              Plaintiff’s and California Subclass Members’ personal information from

              unauthorized disclosure, release, data breaches, and theft, which was a direct

              and proximate cause of the PBI Data Breach.

          b. PBI failed to identify foreseeable security risks, remediate identified security

              risks, and adequately improve security following previous cybersecurity

              incidents and known coding vulnerabilities in the industry;


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         c. PBI’s failure to implement and maintain reasonable security measures also

             was contrary to legislatively-declared public policy that seeks to protect

             consumers’ data and ensure that entities that are trusted with it use

             appropriate security measures. These policies are reflected in laws, including

             the FTC Act (15 U.S.C. § 45), California’s Customer Records Act (Cal. Civ.

             Code § 1798.80 et seq.), and California’s Consumer Privacy Act (Cal. Civ.

             Code § 1798.150);

         d. PBI’s failure to implement and maintain reasonable security measures also

             led to substantial consumer injuries, as described above, that are not

             outweighed by any countervailing benefits to consumers or competition.

             Moreover, because consumers could not know of PBI’s inadequate security,

             consumers could not have reasonably avoided the harms that PBI caused;

             and

         e. Engaging in unlawful business practices by violating Cal. Civ. Code §

             1798.82.

      140.   PBI has engaged in “unlawful” business practices by violating multiple laws,

including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring

reasonable data security measures) and 1798.82 (requiring timely breach notification),

California’s Consumer Privacy Act, Cal. Civ. Code § 1798.150, California’s Consumers

Legal Remedies Act, Cal. Civ. Code §§ 1780, et seq., the FTC Act, 15 U.S.C. § 45, and

California common law.

      141.   PBI’s unlawful, unfair, and deceptive acts and practices include:

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  a. Failing to implement and maintain reasonable data security and privacy

     measures to protect Plaintiff’s and California Subclass Members’ personal

     information, which was a direct and proximate cause of the PBI Data Breach;

  b. Failing to identify foreseeable security and privacy risks, remediate

     identified security and privacy risks, and adequately improve security and

     privacy measures following previous cybersecurity incidents, which was a

     direct and proximate cause of the PBI Data Breach;

  c. Failing to comply with common law and statutory duties pertaining to the

     security and privacy of Plaintiff’s and California Subclass Members’

     personal information, including duties imposed by the FTC Act, 15 U.S.C. §

     45, California’s Customer Records Act, Cal. Civ. Code §§ 1798.80 et seq.,

     and California’s Consumer Privacy Act, Cal. Civ. Code § 1798.150, which

     was a direct and proximate cause of the PBI Data Breach;

  d. Misrepresenting that it would protect the privacy and confidentiality of

     Plaintiff’s and California Subclass Members’ personal information,

     including by implementing and maintaining reasonable security measures;

  e. Misrepresenting that it would comply with common law and statutory duties

     pertaining to the security and privacy of Plaintiff’s and California Subclass

     Members’ personal information, including duties imposed by the FTC Act,

     15 U.S.C. § 45, California’s Customer Records Act, Cal. Civ. Code §§

     1798.80, et seq., and California’s Consumer Privacy Act, Cal. Civ. Code §

     1798.150;

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          f. Omitting, suppressing, and concealing the material fact that it did not

              reasonably or adequately secure Plaintiff’s and California Subclass

              Members’ personal information; and

          g. Omitting, suppressing, and concealing the material fact that it did not comply

              with common law and statutory duties pertaining to the security and privacy

              of Plaintiff’s and California Subclass Members’ personal information,

              including duties imposed by the FTC Act, 15 U.S.C. § 45, California’s

              Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq., and California’s

              Consumer Privacy Act, Cal. Civ. Code § 1798.150.

       142.   PBI’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of PBI’s data security and ability to

protect the confidentiality of consumers’ personal information.

       143.   As a direct and proximate result of PBI’s unfair, unlawful, and fraudulent

acts and practices, Plaintiff and California Subclass Members’ were injured and lost money

or property, which would not have occurred but for the unfair and deceptive acts, practices,

and omissions alleged herein, monetary damages from fraud and identity theft, time and

expenses related to monitoring their financial accounts for fraudulent activity, an increased,

imminent risk of fraud and identity theft, and loss of value of their personal information.

       144.   PBI’s    violations   were,   and   are,   willful,   deceptive,   unfair,   and

unconscionable.

       145.   Plaintiff and California Subclass Members have lost money and property as

a result of PBI’s conduct in violation of the UCL, as stated herein and above.

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       146.    By deceptively storing, collecting, and disclosing their personal information,

PBI has taken money or property form Plaintiff and California Subclass Members.

       147.    PBI acted intentionally, knowingly, and maliciously to violate California’s

Unfair Competition Law, and recklessly disregarded Plaintiff’s and California Subclass

Members’ rights. Past data breaches put it on notice that its security and privacy protections

were inadequate.

       148.    Plaintiff and California Subclass Members seek all monetary and

nonmonetary relief allowed by law, including restitution of all profits stemming from PBI’s

unfair, unlawful, and fraudulent business practices or use of their personal information;

declaratory relief; reasonable attorneys’ fees and costs under California Code of Civil

Procedure § 1021.5; injunctive relief; and other appropriate equitable relief, including

public injunctive relief.

                            COUNT V
 COMMON LAW INVASION OF PRIVACY – INTRUSION UPON SECLUSION
               (On behalf of Plaintiff and the Class)

       149.    Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       150.    To assert claims for intrusion upon seclusion, one must plead (1) that the

defendant intentionally intruded into a matter as to which plaintiff had a reasonable

expectation of privacy; and (2) that the intrusion was highly offensive to a reasonable

person.

       151.    PBI intentionally intruded upon the solitude, seclusion and private affairs of

Plaintiff and Class Members by intentionally configuring their systems in such a way that

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left them vulnerable to malware/ransomware attack, thus permitting unauthorized access

to their systems, which compromised Plaintiff’s and Class Members’ personal information.

Only PBI had control over its systems.

       152.     PBI’s conduct is especially egregious and offensive as it failed to have

adequate security measures in place to prevent, track, or detect in a timely fashion

unauthorized access to Plaintiff’s and Class Members’ personal information.

       153.     At all times, PBI was aware that Plaintiff’s and Class Members’ personal

information in their possession contained highly sensitive and confidential personal

information.

       154.     Plaintiff and Class Members have a reasonable expectation of privacy in their

personal information, which also contains highly sensitive medical information.

       155.     PBI intentionally configured their systems in such a way that stored

Plaintiff’s and Class Members’ personal information to be left vulnerable to

malware/ransomware attack without regard for Plaintiff’s and Class Members’ privacy

interests.

       156.     The disclosure of the sensitive and confidential personal information of

thousands of consumers, was highly offensive to Plaintiff and Class Members because it

violated expectations of privacy that have been established by general social norms,

including by granting access to information and data that is private and would not otherwise

be disclosed.

       157.     PBI’s conduct would be highly offensive to a reasonable person in that it

violated statutory and regulatory protections designed to protect highly sensitive

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information, in addition to social norms. PBI’s conduct would be especially egregious to a

reasonable person as PBI publicly disclosed Plaintiff’s and Class Members’ sensitive and

confidential personal information without their consent, to an “unauthorized person,” i.e.,

hackers.

       158.   As a result of PBI’s actions, Plaintiff and Class Members have suffered harm

and injury, including but not limited to an invasion of their privacy rights.

       159.   Plaintiff and Class Members have been damaged as a direct and proximate

result of PBI’s intrusion upon seclusion and are entitled to just compensation.

       160.   Plaintiff and Class Members are entitled to appropriate relief, including

compensatory damages for the harm to their privacy, loss of valuable rights and

protections, and heightened stress, fear, anxiety and risk of future invasions of privacy.

                                      COUNT VI
                         BREACH OF IMPLIED CONTRACT
                          (On behalf of Plaintiff and the Class)

       161.   Plaintiff realleges and incorporates by reference the preceding paragraphs as

though fully set forth herein.

       162.   Through its course of conduct, PBI, Plaintiff and Class Members entered into

implied contracts for PBI to implement data security adequate to safeguard and protect the

privacy of Plaintiff’s and Class Members’ PII.

       163.   PBI required Plaintiff and Class Members to provide and entrust their PII as

a condition of obtaining Defendant’s services for pension management services through

CalPERS and/or CalSTRS.



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       164.   PBI solicited and invited Plaintiff and Class Members to provide their PII as

part of Defendant’s regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their PII to Defendant for pension management services

through CalPERS and/or CalSTRS.

       165.   Plaintiff and Class Members provided and entrusted their PII to Defendant.

In so doing, Plaintiff and Class Members entered into implied contracts with Defendant by

which Defendant agreed to safeguard and protect such non-public information, to keep

such information secure and confidential, and to timely and accurately notify Plaintiff and

Class Members if its data had been breached and compromised or stolen.

       166.   A meeting of the minds occurred when Plaintiff and Class Members agreed

to, and did, provide their PII to Defendant, in exchange for, amongst other things, the

protection of their PII.

       167.   Plaintiff and Class Members fully performed their obligations under the

implied contracts with Defendant.

       168.   Defendant breached the implied contracts it made with Plaintiff and Class

Members by failing to safeguard and protect their PII and by failing to provide timely and

accurate notice to them that their PII was compromised as a result of the Data Breach.

       169.   As a direct and proximate result of Defendant’s above-described breach of

implied contract, Plaintiff and Class Members have suffered (and will continue to suffer)

(a) ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; (b) actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; (c) loss of the confidentiality of the

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stolen confidential data; (d) the illegal sale of the compromised data on the dark web; (e)

lost work time; and (f) other economic and non-economic harm.

                               VII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the Classes described above,

seeks the following relief:

          a. An order certifying this action as a Class action under Fed. R. Civ. P. 23,

              defining the Class as requested herein, appointing the undersigned as Class

              counsel, and finding that Plaintiff is a proper representative of the

              Nationwide Class and California Subclass requested herein;

          b. Judgment in favor of Plaintiff and Class Members awarding them appropriate

              monetary relief, including actual damages, statutory damages, equitable

              relief, restitution, disgorgement, and statutory costs;

          c. An order providing injunctive and other equitable relief as necessary to

              protect the interests of the Class as requested herein;

          d. An order instructing PBI to purchase or provide funds for lifetime credit

              monitoring and identity theft insurance to Plaintiff and Class Members;

          e. An order requiring PBI to pay the costs involved in notifying Class Members

              about the judgment and administering the claims process;

          f. A judgment in favor of Plaintiff and Class Members awarding them

              prejudgment and post-judgment interest, reasonable attorneys’ fees, costs,

              and expenses as allowable by law; and



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  g. An award of such other and further relief as this Court may deem just and

     proper.

                    DEMAND FOR JURY TRIAL

     Plaintiff demands a trial by jury on all triable issues.


DATED: July 27, 2023                 Respectfully submitted,

                                      /s/ Bryan L. Bleichner
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